     Case 6:20-cv-02117-PGB Document 2 Filed 11/18/20 Page 1 of 3 PageID 17




                         UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In Re: Don Karl Juravin

DON KARL JURAVIN,

                    Appellant,

v.                                                       Case No: 6:20-cv-2117-Orl-40

FEDERAL TRADE COMMISSION,

                    Appellee.


                                RELATED CASE ORDER
                               AND TRACK ONE NOTICE
       It is hereby ORDERED that, no later than fourteen days from the date of this Order,

counsel and any pro se party shall comply with Local Rule 1.04(d), and shall file and serve

a certification as to whether the instant action should be designated as a similar or

successive case pursuant to Local Rule 1.04(a) or (b). The parties shall utilize the

attached form NOTICE OF PENDENCY OF OTHER ACTIONS. It is

       FURTHER ORDERED that, in accordance with Local Rule 3.05, this action is

designated a Track One case.          All parties must comply with the requirements

established in Local Rule 3.05 for Track One cases.

November 18, 2020
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        ROY B. DALTON, JR.                             PAUL G. BYRON
        Roy B. Dalton, Jr. [37]                        Paul G. Byron [40]
      United States District Judge                United States District Judge

       CARLOS E. MENDOZA                            WENDY W. BERGER
       Carlos E. Mendoza [41]                       Wendy W. Berger [78]
      United States District Judge                United States District Judge

        G. KENDALL SHARP                           PATRICIA C. FAWSETT
        G. Kendall Sharp [18]                       Patricia C. Fawsett [19]
  Senior United States District Judge          Senior United States District Judge

     GREGORY A. PRESNELL                               JOHN ANTOON II
       Gregory A. Presnell [31]                        John Antoon II [28]
  Senior United States District Judge          Senior United States District Judge

         ANNE C. CONWAY
        Anne C. Conway [22]
  Senior United States District Judge

         GREGORY J. KELLY                             THOMAS B. SMITH
        Gregory J. Kelly [GJK]                       Thomas B. Smith [TBS]
    United States Magistrate Judge               United States Magistrate Judge

           DANIEL C. IRICK                             DAVID A. BAKER
         Daniel C. Irick [DCI]                        David A. Baker [DAB]
    United States Magistrate Judge               United States Magistrate Judge

        LESLIE R. HOFFMAN                               EMBRY J. KIDD
       Leslie R. Hoffman [LRH]                        Embry J. Kidd [EJK]
    United States Magistrate Judge               United States Magistrate Judge



Attachment: Notice of Pendency of Other Actions [mandatory form]

Copies to:   All Counsel of Record
             All Pro Se Parties




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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In Re: Don Karl Juravin

DON KARL JURAVIN,

                       Appellant,

v.                                                          Case No: 6:20-cv-2117-Orl-40

FEDERAL TRADE COMMISSION,

                       Appellee.


                       NOTICE OF PENDENCY OF OTHER ACTIONS

         In accordance with Local Rule 1.04(d), I certify that the instant action:

          IS           related to pending or closed civil or criminal case(s) previously filed
                       in this Court, or any other Federal or State court, or administrative
                       agency as indicated below:




          IS NOT       related to any pending or closed civil or criminal case filed with this
                       Court, or any other Federal or State court, or administrative agency.

      I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party no later than fourteen days after appearance of the party.

Dated:


Counsel of Record or Pro Se Party
  [Address and Telephone]
